             Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 1 of 18



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                       EASTERN DIVISION


 ARNOLD VARGAS,

                         Plaintiff,                        Civil Action No.

         v.                                                COMPLAINT FOR DECLARATORY
                                                           AND INJUNCTIVE RELIEF
 SHIPT, INC.,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Arnold Vargas, by and through undersigned counsel, seeks a permanent injunction

requiring a change in SHIPT, INC.’s (“Defendant” or “Shipt”) corporate policies to cause its

website to become, and remain, accessible to individuals with visual disabilities. In support

thereof, Plaintiff respectfully asserts as follows:

                                         INTRODUCTION

        1.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA applies
        to public accommodations’ websites over 20 years ago. This interpretation is
        consistent with the ADA’s title III requirement that the goods, services, privileges,
        or activities provided by places of public accommodation be equally accessible to
        people with disabilities.

See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to

Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
             Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 2 of 18



https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf)         (last

accessed March 8, 2019).

        2.       Arnold Vargas is legally blind. Mr. Vargas has a hereditary condition called Leber

congenital amaurosis. Leber congenital amaurosis is an eye disorder that primarily affects the

retina, which detects light and color, and causes severe visual impairment beginning in infancy.

Today, Mr. Vargas uses screen readers, including the built-in Voiceover capability of his iPhone

6s and MacBook Pro, combined with Zoom software, to navigate the internet.

        3.       Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

        The screen reading software uses auditory cues to allow a visually impaired user to
        effectively use websites. For example, when using the visual internet, a seeing user
        learns that a link may be “clicked,” which will bring him to another webpage,
        through visual cues, such as a change in the color of the text (often text is turned
        from black to blue). When the sighted user's cursor hovers over the link, it changes
        from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight impaired individual reaches a link that may be
        “clicked on,” the software reads the link to the user, and after reading the text of
        the link says the word “clickable.”…Through a series of auditory cues read aloud
        by the screen reader, the visually impaired user can navigate a website by listening
        and responding with his keyboard.

Id. at *6-7. See American Federation for the Blind, Screen Readers, available at

http://www.afb.org/prodBrowseCatResults.aspx?CatID=49 (last accessed March 8, 2019)

(discussing screen readers and how they work).

        4.       Defendant is an Internet-based delivery service for groceries, home products, and

select electronics.



                                                  2
              Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 3 of 18



         5.       Consumers may purchase groceries, home products and select electronics through

Defendant at https://www.shipt.com/, a website Defendant owns, operates, and controls. See

Terms of Service, available at https://www.shipt.com/terms-of-service/ (last accessed March 8,

2019).

         6.       In addition to researching and purchasing groceries, home products and select

electronics, through Defendant, from the comfort and convenience of their homes, consumers may

also use Defendant’s Website to contact customer service by phone, email, and instant messenger,

review important legal notices like Defendant’s Privacy Policy and Terms and Conditions, create

an individual account, and more.

         7.       Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

         8.       Unfortunately, Defendant denies approximately 8.1 million Americans who have

difficulty seeing access to its Website’s goods, content, and services because the Website is largely

incompatible with the screen reader programs these Americans use to navigate an increasingly

ecommerce world. See Press Release, United States Census Bureau, Nearly 1 in 5 People Have a

Disability in the U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary

of       the     ADA       (Jul.     25,     2012),       available    at     https://www.census.gov/

newsroom/releases/archives/miscellaneous/cb12-134.html (last accessed March 8, 2019) (“About

8.1 million people had difficulty seeing, including 2.0 million who were blind or unable to see.”).

         9.       Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of its

services, facilities, privileges and advantages; (2) provide such persons with benefits that are equal



                                                      3
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 4 of 18



to those provided to nondisabled persons; (3) provide auxiliary aids and services—including

electronic services for use with a computer screen reading program—where necessary to ensure

effective communication with individuals with a visual disability, and to ensure that such persons

are not excluded, denied services, segregated or otherwise treated differently than sighted

individuals; and (4) utilize administrative methods, practices, and policies that provide persons

with disabilities equal access to online content.

       10.      By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       11.      Because Defendant’s Website is not and has never been accessible, and because

upon information and belief Defendant does not have, and has never had, an adequate corporate

policy that is reasonably calculated to cause its Website to become and remain accessible, Plaintiff

invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring that:

             a) Defendant retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist it in improving the accessibility of its Website,
                including all third party content and plug-ins, so the goods and services on the
                Website may be equally accessed and enjoyed by individuals with vision related
                disabilities;

             b) Defendant work with the Web Accessibility Consultant to ensure that all employees
                involved in website and content development be given web accessibility training
                on a biennial basis, including onsite training to create accessible content at the
                design and development stages;

             c) Defendant work with the Web Accessibility Consultant to perform an automated
                accessibility audit on a periodic basis to evaluate whether Defendant’s Website may
                be equally accessed and enjoyed by individuals with vision related disabilities on
                an ongoing basis;



                                                    4
Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 5 of 18



 d) Defendant work with the Web Accessibility Consultant to perform end-user
    accessibility/usability testing on at least a quarterly basis with said testing to be
    performed by humans who are blind or have low vision, or who have training and
    experience in the manner in which persons who are blind use a screen reader to
    navigate, browse, and conduct business on websites, in addition to the testing, if
    applicable, that is performed using semi-automated tools;

 e) Defendant incorporate all of the Web Accessibility Consultant’s recommendations
    within sixty (60) days of receiving the recommendations;

 f) Defendant work with the Web Accessibility Consultant to create a Web
    Accessibility Policy that will be posted on its Website, along with an e-mail
    address, instant messenger, and toll-free phone number to report accessibility-
    related problems;

 g) Defendant directly link from the footer on each page of the Website, a statement
    that indicates that Defendant is making efforts to maintain and increase the
    accessibility of its Website to ensure that persons with disabilities have full and
    equal enjoyment of the goods, services, facilities, privileges, advantages, and
    accommodations of the Defendant through the Website;

 h) Defendant accompany the public policy statement with an accessible means of
    submitting accessibility questions and problems, including an accessible form to
    submit feedback or an email address to contact representatives knowledgeable
    about the Web Accessibility Policy;

 i) Defendant provide a notice, prominently and directly linked from the footer on each
    page of the Website, soliciting feedback from visitors to the Website on how the
    accessibility of the Website can be improved. The link shall provide a method to
    provide feedback, including an accessible form to submit feedback or an email
    address to contact representatives knowledgeable about the Web Accessibility
    Policy;

 j) Defendant provide a copy of the Web Accessibility Policy to all web content
    personnel, contractors responsible for web content, and Client Service Operations
    call center agents (“CSO Personnel”) for the Website;

 k) Defendant train no fewer than three of its CSO Personnel to automatically escalate
    calls from users with disabilities who encounter difficulties using the Website.
    Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
    such users with disabilities within CSO published hours of operation. Defendant
    shall establish procedures for promptly directing requests for assistance to such
    personnel including notifying the public that customer assistance is available to
    users with disabilities and describing the process to obtain that assistance;

 l) Defendant modify existing bug fix policies, practices, and procedures to include the
    elimination of bugs that cause the Website to be inaccessible to users of screen
    reader technology;
                                      5
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 6 of 18



             m) Plaintiff, his counsel, and its experts monitor the Website for up to two (2) years
                after the Mutually Agreed Upon Consultant validates the Websites are free of
                accessibility errors/violations to ensure Defendant has adopted and implemented
                adequate accessibility policies. To this end, Plaintiff, through his counsel and its
                experts, shall be entitled to consult with the Web Accessibility Consultant at their
                discretion, and to review any written material, including but not limited to any
                recommendations the Website Accessibility Consultant provides Defendant.

       12.      Web-based technologies have features and content that are modified on a daily, and

in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible, and whether corporate policies related to web-based technologies have been changed

in a meaningful manner that will cause the website to remain accessible, the website must be

reviewed on a periodic basis using both automated accessibility screening tools and end user

testing by disabled individuals.

                                   JURISDICTION AND VENUE

       13.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.      Defendant attempts to, and indeed does so, participate in the State of

Massachusetts’ economic life.

       15.      Defendant’s participation in the Commonwealth hinges, in significant part, on

Massachusetts consumers, like Plaintiff, accessing its Website and purchasing Defendant’s

products. Unlike, for example, a winery that cannot sell and ship wine to consumers in certain

states, Defendant purposefully avails itself of the benefits and advantages of operating an online

business open 24 hours a day, 7 days a week, 365 days per year to Massachusetts residents.




                                                  6
            Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 7 of 18



        16.     As described in additional detail below, Plaintiff was injured when he attempted to

access Defendant’s Website from his home in New Bedford, MA, but encountered barriers that

denied him full and equal access to Defendant’s online services.

        17.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claims

occurred.

                                              PARTIES

        18.     Plaintiff is and, at all times relevant hereto, has been a resident of New Bedford,

MA, located in Bristol County. Plaintiff is and, at all times relevant hereto, has been legally blind

and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

        19.     Defendant is a Delaware corporation with its principle place of business at 17 20th

St N, Ste 100, Birmingham, AL, 35203.

                           FACTS APPLICABLE TO ALL CLAIMS

        20.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.




                                                   7
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 8 of 18



                            DEFENDANT’S ONLINE CONTENT

       21.     Defendant’s Website allows consumers to research and purchase groceries, home

products and select electronics from the comfort and convenience of their own homes, and arrange

for home delivery.

       22.     The Website also enables consumers to contact customer service by phone, email,

and instant messenger, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions, create an individual account, and more.

                                    HARM TO PLAINTIFF
       23.     Plaintiff attempted to access the Website from his home in New Bedford, MA.

Unfortunately, because of Defendant’s failure to build its Website in a manner that is compatible

with screen reader programs, Plaintiff is unable to understand, and thus is denied the benefit of,

much of the content and services he wishes to access on the Website.

       24.     Plaintiff attempted to access the Websites from his home in Bristol County,

Massachusetts, using Apple’s Voiceover technology combined with the ZoomText program.

Unfortunately, because of Defendant’s failure to build its Websites in a manner that is compatible

with screen reader programs, Plaintiff is unable to understand, and thus is denied the benefit of,

much of the content and services he wishes to access on the Websites.

       25.     VoiceOver is “a full-featured screen reader built into macOS that speaks the text in

documents and windows, and describes aloud what appears on your screen…With VoiceOver, you

control your Mac primarily with a keyboard, refreshable braille display, or trackpad. You use the

VoiceOver cursor—which appears as a dark rectangular outline—to move around the screen,

select buttons and other controls, and to read and edit text.” See Apple, VoiceOver Getting Started

Guide, available at https://help.apple.com/voiceover/info/guide/10.12/#/vo2681 (last accessed

Dec. 19, 2018).

                                                8
          Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 9 of 18




   The VoiceOver cursor—a dark rectangular outline—focused on the word "Accessibility" on
                                         screen.
The italicized caption above matches the alternative text that Apple provides in its VoiceOver

Getting Started Guide. See below. It illustrates the type of sufficiently descriptive alternative text

that screen reader users require to fully and equally access Defendant’s Website.




        26.     Unfortunately, after visiting Defendant’s Website from New Bedford, MA, and

from investigations performed on his behalf, Plaintiff found Defendant’s Website to be largely

unusable due to various barriers that deny him full and equal access to Defendant’s online content

and services. For example, Plaintiff’s investigation discovered:

                a.      Defendant’s Website presents users with a free-trial offer via a pop-up when

they first visit the website.




                                                  9
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 10 of 18




Unfortunately, this pop-up box is not announced to screen reader users. Instead, screen readers

continue to read the headers on Defendant’s homepage, and do not perceive that a pop-up box has

been opened. As a result, users are unable to navigate to this offer with only a keyboard, and the

text content in the pop-up is not read. Additionally, the Get Started button is not labeled so it is

not read by a screen reader. Users that require assistive technology, such as a screen reader, will

not be able to use this pop-up offer, and keyboard-only users will not be able to navigate to this

offer.

                 b.    The banner at the top of Defendant’s homepage contains an offer for 40%

off ready-to-hang art. However, the banner does not have a visible focus and cannot be read by a

screen reader.




                                                10
        Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 11 of 18




       As a result, users that require assistive technology, such as a screen reader, will not have

the ability to hear this offer, and keyboard-only users will not be able to activate the “View

Details” link to learn more.

               a.      Defendant’s Website offers a “live chat” button on the homepage.

However, the chat functionality must be clicked on with a mouse and does not provide the

functionality that will allow keyboard users to navigate to it. The Chat function works with a

mouse, and does show a visible focus when it is hovered over with a mouse, but there is no visible

focus for a keyboard-only user.

       27.     These barriers, and others, deny Plaintiff full and equal access to all of the services

the Website offers, and now deter him from attempting to use the Website. Still, Plaintiff would

like to, and intends to, attempt to access the Website in the future to research the products and

services the Website offers, or to test the Website for compliance with the ADA.

       28.     If the Website were accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.
                                                 11
            Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 12 of 18



           29.   Though Defendant may have centralized policies regarding the maintenance and

operation of its Website, Defendant has never had a plan or policy that is reasonably calculated to

make its Website fully accessible to, and independently usable by, individuals with vision related

disabilities. As a result, the complained of access barriers are permanent in nature and likely to

persist.

           30.   The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

           31.   Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
           32.   Defendant has long known that screen reader technology is necessary for

individuals with visual disabilities to access its online content and services, and that it is legally

responsible for providing the same in a manner that is compatible with these auxiliary aids.

           33.   Indeed, the “Department [of Justice] first articulated its interpretation that the ADA

applies to public accommodations’ websites over 20 years ago.” As described above, on September

25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the ADA, nor the

Department’s enforcement of it, has changed this interpretation.

           THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

           34.   There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.




                                                  12
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 13 of 18



        35.     While DOJ has rulemaking authority and can bring enforcement actions in court,

Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.

        36.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

        37.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on its Website, and (b) whether

Plaintiff can access the content and services.

                                 SUBSTANTIVE VIOLATION

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

         38.    The assertions contained in the previous paragraphs are incorporated by reference.

         39.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). See Andrews v. Blick Art Materials, Inc., 268 F. Supp.

3d 381, 393 (E.D.N.Y. 2018) (“It is unambiguous that under Title III of the ADA, dickblick.com

is a place of public accommodation.”); Del-Orden v. Bonobos, Inc., No. 17 CIV. 2744 (PAE),

2017 WL 6547902, at *7 (S.D.N.Y. Dec. 20, 2017) (“A commercial website itself qualifies as a

place of “public accommodation” to which Title III of the ADA affords a right of equal access.”).

         40.    In the broadest terms, the ADA prohibits discrimination on the basis of a disability

in the full and equal enjoyment of goods and services of any place of public accommodation. 42

U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff with full and equal

access to its Website, it has violated the ADA.



                                                  13
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 14 of 18



        41.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.

        42.    Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service, or fails to provide a like experience

to the disabled person.

        43.    Auxiliary aids and services include, but are not limited to, audio recordings, screen

reader software, magnification software, optical readers, secondary auditory programs, large print

materials, accessible electronic and information technology, other effective methods of making

visually delivered materials available to individuals who are blind or have low vision, and other

similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        44.    In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time:              as technology advances, [ ]

accommodations should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630

F.3d 1153, 1163 (9th Cir. 2011).

        45.    By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual, licensing,




                                                  14
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 15 of 18



or other arrangements, in illegal disability discrimination, as defined by Title III, including without

limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;

                (b)     affording individuals with visual disabilities access to its Website that is not

equal to, or effective as, that afforded others;

                (c)     utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuate the discrimination of others who are subject to common

administrative control;

                (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

                (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

        46.     Defendant has violated Title III by, without limitation, failing to make its Website’s

services accessible by screen reader programs, thereby denying individuals with visual disabilities

the benefits of the Website, providing them with benefits that are not equal to those it provides

others, and denying them effective communication.

        47.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available without

consideration of consumers who can only access the company’s online goods, content, and services

with screen reader programs.




                                                   15
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 16 of 18



        48.     Making its online goods, content, and services compatible with screen readers does

not change the content of Defendant’s Website or result in making the Website different, but

enables individuals with visual disabilities to access the Website Defendant already provides.

        49.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiff and other individuals with visual disabilities.

        50.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

        51.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for:

        (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its Website is fully accessible to, and independently usable by, individuals

with visual disabilities;

        (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to, and independently usable by, blind individuals, and which further

directs that the Court shall retain jurisdiction for a period to be determined to ensure that Defendant

has adopted and is following an institutional policy that will in fact cause it to remain fully in




                                                  16
         Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 17 of 18



compliance with the law—the specific injunctive relief requested by Plaintiff is described more

fully in paragraph 11 above.

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see Access

Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11)

(“Plaintiffs, as the prevailing party, may file a fee petition before the Court surrenders jurisdiction.

Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546, 559

(1986), supplemented, 483 U.S. 711 (1987), and Garrity v. Sununu, 752 F.2d 727, 738-39 (1st Cir.

1984), the fee petition may include costs to monitor Defendant’s compliance with the permanent

injunction.”); see also Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-

01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191) (same);

       (F)     Whatever other relief the Court deems just, equitable and appropriate; and

       (G)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: March 14, 2019                    Respectfully Submitted,

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                                                  17
Case 1:19-cv-10475-RWZ Document 1 Filed 03/14/19 Page 18 of 18



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                              18
